             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
               CRIMINAL CASE NO. 1:09-cr-13-MR-10


UNITED STATES OF AMERICA         )
                                 )
              vs.                )                 ORDER
                                 )
CHRISTOPHER ALLEN HARRIS         )
________________________________ )


     THIS MATTER is before the Court on the Defendant’s pro se Motion

for Reduction of Sentence filed pursuant to 18 United States Code §

3582(c)(2) and U.S.S.G. § 1B1.10(c), Amendment 780 (Nov. 1, 2014).

[Doc. 758].

     It appears to the Court that the Defendant has stated a colorable

basis for relief in his Motion.   In addition, the Probation Office has

submitted a supplement to the Defendant’s Presentence Report indicating

that he may be entitled to immediate release. Based thereon, the Court

determines that the United States Attorney and the Federal Defenders of

WNC, Inc., should provide the Court with their respective positions

regarding to the Defendant’s Motion.




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     IT IS, THEREFORE, ORDERED that no later than seven (7) days

from the entry of this Order, the United States Attorney and the Federal

Defenders of WNC, Inc., shall file pleadings responsive to Defendant’s

Motion for Reduction of Sentence.

     IT IS SO ORDERED.


                               Signed: November 25, 2014




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